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                    UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION


 AMERICANA WORLDWIDE
 CORPORATION,
         Plaintiff                                 No. 22 CV 3095

       v.                                          Judge Jeremy C. Daniel

 PROTRADE LOGISTICS
 CORPORATION and JOSE J.
 BENITEZ,
          Defendants


                    MEMORANDUM OPINION AND ORDER

      This matter comes before the Court on a pair of motions for summary

judgment. The defendants move for summary judgment on the plaintiff’s breach of

contract, state and federal trade secret, and tortious interference claims. (R. 90.) The

counter-defendants move for summary judgment on counter-plaintiff Jose Benitez’s

breach of contract and Illinois Wage Payment and Collection Act claims. (R. 93.) For

the reasons given in this order, the Court grants-in-part and denies-in-part both

motions.

                                  BACKGROUND

      The plaintiff, also counter-defendant, American Worldwide Corporation

(“AWW”), is a specialized freight broker for trade show exhibitions and displays. (R.

138 (Defendants’ Response to Plaintiff’s Statement of Additional Facts (“Defs.’ Resp.
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PSOAF”)) ¶ 1.)1 The parties agree that this is a “niche market” with a limited

clientele. (Id. ¶¶ 2–4.) AWW is owned and was founded by counter-defendant Mark

Kengott. (R. 110 (Counterclaim-Plaintiff’s Response to Counterclaim-Defendant’s

Statement of Material Facts (“Countercl. Pl.’s Resp. CDSOF”)) ¶ 2.)

       The defendant and counter-plaintiff, Jose Benitez, worked for AWW from

January 2015 until May 14, 2021. (Id. ¶ 4.) When he left AWW, he started defendant

company Protrade Logistics Corporation (“Protrade”). (R. 114 (Plaintiff’s Response to

Defendant’s Statement of Material Facts (“Pl.’s Resp. DSOF”)) ¶ 3.) Beyond these

basic facts, the parties vigorously dispute the course of events.

       According to AWW, it has developed an extensive list of trade secrets

concerning its “specialized know-how” in delivering exhibits to convention centers

and other trade show sites. (R. 115 (Plaintiff’s Statement of Additional Facts (“Pl.

SOAF”)) ¶¶ 5–6.) This information is kept on its information technology system,

which uses “industry standard” firewalls and password protection to limit access to

authorized users. (Id. ¶ 7.) Among these authorized users was Benitez, who rose

through the ranks at AWW to become Director of Operations. (Id. ¶ 8–12.) On

February 14, 2019, Benitez signed an “Employee Non-Compete, Confidentiality and

Non-Solicitation Agreement” (the “Agreement”). (Id. ¶ 15; R. 1 ¶ 38.)




   1 For ECF filings, the Court cites to the page number(s) set forth in the document’s ECF header

unless citing to a particular paragraph or other page designation is more appropriate. For documents
filed under seal, the Court cites the sealed version of the documents while attempting not to reveal
any information that could be reasonably deemed confidential. Confidential information is discussed
to the extent necessary to explain the path of the Court’s reasoning. See In re Specht, 622 F.3d 697,
701 (7th Cir. 2010); Union Oil Co. of Cal. v. Leavell, 220 F.3d 562, 568 (7th Cir. 2000).


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      The COVID-19 pandemic “caused the tradeshow business to essentially shut

down.” (Pl. SOAF ¶ 13.) Kengott assigned Benitez to work with an outside vendor to

create proprietary software for “tradeshow shipping.” (Id.) Around the same time,

approximately March 18, 2020, AWW’s information technology professional, Peter

Rutecki, allegedly discovered that Benitez had created a private email account “made

to appear as if it were an AWW email.” (Id. ¶ 21.) AWW alleges that Benitez was

using this email account to conduct business for AWW, and was also “saving and

storing numerous AWW confidential documents, including lists of clients and other

technical information relating to those clients, on his personal Google drive.” (Id. ¶¶

23–25.) According to AWW, Benitez could provide no satisfactory explanation for

these actions. (Id. ¶¶ 22, 26.) After Benitez left AWW to start Protrade, Rutecki re-

examined Benitez’s computer and found that Benitez had deleted his AWW email

account and all his emails, and was unable to recover the deleted information. (Id. ¶¶

33–35.) According to AWW, after Benitez left its employ, he kept access to and/or

ownership over documents containing AWW trade secrets, and used those trade

secrets to attempt to “poach” AWW customers. (Id. ¶¶ 42–62.) AWW accuses Benitez

of not informing long-term customers that he had left AWW, leading them to hire

Protrade when they thought they were hiring AWW. (Id. ¶ 49.) Some of these

customers invoiced AWW for work performed by Protrade. (Id.)

      Benitez tells a very different story. According to him, there were no internal

controls over who could access AWW documents, and the alleged trade secrets were

nothing more than “information [] generally known in the freight business and easily



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determined by individuals in the industry.” (R. 138-1 ¶¶ 3–4.) Furthermore, according

to Benitez, he transferred certain AWW documents to Google cloud files as early as

2015 for easier collaboration across AWW’s operations team. (Id. ¶¶ 4–6.) AWW

employees with access to these Google cloud files included “other members of the

Operations team, salesmen, and Mark Kengott.” (Id. ¶ 6) Benitez asserts that in

March 2020, Rutecki changed ownership of these documents from Benitez to Kengott,

but Benitez retained access permission until after he left AWW. (Id. ¶¶ 7, 13.) Benitez

generally denies misappropriating AWW confidential information or trade secrets,

poaching customers, or misleading Protrade customers into thinking they were hiring

AWW. (See generally Defs.’ Resp. PSOAF.)

       Benitez also alleges further facts in support of his counterclaims. He alleges

that AWW and Kengott agreed to pay him an $80,000 annual salary for 2019, plus a

$14,000 bonus for his work during 2019. (R. 1102 (Counterclaim-Plaintiff’s Statement

of Additional Material Facts (Countercl. Pl.’s SOAF ¶ 7)). He alleges this bonus was

never paid, and that in March 2020, AWW and Kengott reduced his salary without

warning. (Id. ¶ 9–10.) AWW and Kengott, for their part, assert that they did discuss

a pandemic related salary cut with Benitez, and further assert that the bonus

payment was discretionary, not obligatory. (R. 133 (Counterclaim-Defendant’s

Response to Counter-Plaintiff’s Statement of Additional Facts (“Countercl. Defs.’

Resp. C. Pl’s SOAF”) ¶¶ 7–10.)



   2 R. 110 contains two separate documents: Benitez’s Response to AWW’s Statement of Material

Facts (“Countercl. Pl.’s Resp. CDSOF”), and Benitez’s Statement of Additional Material Facts
(“Countercl. Pl.’s SOAF”).

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      AWW sued Benitez and Protrade, alleging that when Benitez left AWW, he

took AWW confidential information and trade secrets, and has used that information

to improperly solicit AWW clients and interfere with AWW’s ongoing business

relations. (See generally R. 1.) AWW alleges this violated the Agreement. (Id. ¶ 17.)

AWW brings four counts: breach of contract (Count I), violation of the Federal Defend

Trade Secrets Act (“DTSA”) 18 U.S.C. § 1836, et seq. (Count II), violation of the Illinois

Trade Secrets Act (“ITSA”) 765 Ill. 1065/1, et seq. (Count III), and Tortious

Interference with Business Relations (Count IV). (Id. ¶¶ 37–76.)

      Benitez counter-sues, alleging that AWW and Kengott failed to pay him his

full salary after March 2020, failed to pay him his owed bonus for 2019, and failed to

pay out his unused vacation time when he left AWW. (See generally R. 20.) Benitez

argues these failures violate the implicit employment contract he had with AWW

(Count I), as well as the Illinois Wage Payment and Collection Act, (“IWCPA”) 820

ILCS 115/1, et seq. (Count II).

      Benitez and Protrade move for summary judgment as to AWW’s claims. (R.

90.) AWW and Kengott move for summary judgment as to Benitez’s counterclaims.

(R. 93.)

                                  LEGAL STANDARD

      Summary judgment is proper where “the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(a); see also Celotex Corp. v. Catrett, 477 U.S. 317,

322 (1986). “A fact is ‘material’ if it is one identified by the law as affecting the

outcome of the case.” Nat’l Am. Ins. Co. v. Artisan & Truckers Cas. Co., 796 F.3d 717,
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722 (7th Cir. 2015). A genuine dispute as to any material fact exists if “the evidence

is such that a reasonable jury could return a verdict for the nonmoving party.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

      In ruling on a motion for summary judgment, the Court “construe[s] all facts

and draw[s] all reasonable inferences in the nonmoving party’s favor, but the moving

party may prevail ‘by showing an absence of evidence to support’ the nonmoving

party’s claims.” Lewis v. Ind. Wesleyan Univ., 36 F.4th 755, 759 (7th Cir. 2022)

(quoting Tyburski v. City of Chicago, 964 F.3d 590, 597 (7th Cir. 2020)). While the

Court must give the nonmoving party “the benefit of reasonable inferences from the

evidence,” it does not construe “speculative inferences in his favor.” White v. City of

Chicago, 829 F.3d 837, 841 (7th Cir. 2016). Where both sides move for summary

judgment, “all reasonable inferences are drawn in favor of the party against whom

the motion at issue was made.” Tripp v. Scholz, 872 F.3d 857, 862 (7th Cir. 2017)

(citing Dunnet Bay Constr. Co. v. Borggren, 799 F.3d 676, 688 (7th Cir. 2015)).

                                     ANALYSIS

      The Court begins with Benitez’s and Protrade’s motion for summary judgment

on AWW’s breach of contract, trade secrets, and tortious interference claims, and then

addresses summary judgment as to Benitez’s counterclaims for breach of contract and

violations of the IWCPA against AWW and Kengott.

      I.     BREACH OF CONTRACT (COUNT I)

      Benitez moves for summary judgment on Count I, arguing that the non-

compete and confidentiality provisions of the Agreement are invalid for overbreadth,



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and that these provisions cannot be severed from any valid portion of the contract.

(R. 98 at 26–27.)

              A.     Non-Compete Clause

       Benitez argues that the non-compete provisions of the Agreement are

“overreaching and unenforceable.” (R. 98 at 28.) He also argues that, because the non-

compete provisions are “essential” to the Agreement, the entire contract is

unenforceable. (Id. at 29) The Agreement is governed by Illinois law. (R. 90-6 at 6.)

Under Illinois law, a non-compete provision is upheld “if it contains a reasonable

restraint,” as assessed by a three-part test. Reliable Fire Equip. Co. v. Arredondo, 965

N.E.2d 393, 396 (Ill. 2011). The restrictions in the non-compete must be “(1) [] no

greater than is required for the protection of a legitimate business interest of the

employer-promisee; (2) [must] not impose undue hardship on the employee-promisor,

and (3) [] not injurious to the public.” Id.

       Here, the non-compete provisions of the Agreement last for five years, and

restrict Benitez from, inter alia, owning, operating, being employed by, or “hav[ing]

any other interest” in any business which competes with AWW. (R. 90-6 at 4.) Benitez

cannot, “directly or indirectly . . . participate in any transportation-intermediary

business that provides services anywhere in the Continental United States, including

but not limited to any person or organization that provides shipping, third-party

logistics, freight brokerage, truck brokerage, or supply-chain management

services[.]” (Id.) These are fatally overbroad restrictions.

       Looking first at whether the restrictions are “no greater than is required for

the protection of a legitimate business interest,” Reliable Fire Equip. Co., 965 N.E.2d
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at 396, the Court concludes they are not. When asked, Kengott, AWW’s owner and

CEO, could not articulate why the restrictions lasted for five years, nor why Benitez

was banned from the entire freight industry. (Pl.’s Resp. DSOF ¶¶ 18, 19.) Instead,

AWW admits that Kengott went with “what the [his] lawyer called for” and “what

AWW’s lawyers recommended.” (Id.) However, Kengott also swore in his affidavit

that “[t]radeshow focused transportation providers” like AWW “consist of less than

0.001% of U.S. based transportation providers.” (R. 115-1 at 77–78; see also Defs.’

Resp. PSOAF ¶¶ 2–4 (both sides agree AWW is in a “niche market”).) The disjunction

here is obvious—if AWW is in such a highly specialized, niche industry, why the need

to exclude Benitez from the entire “shipping, third-party logistics, freight brokerage,

truck brokerage, or supply-chain management” industry? Kengott provided no

explanation, and therefore there is no legitimate business interest protected by such

a sweeping ban.

      Second, the restrictions impose an undue hardship on Benitez. By banning him

from working for any “shipping, third-party logistics, freight brokerage, truck

brokerage, or supply-chain management” company, in any role, (R. 90-6 at 4), the

Agreement renders Benitez “virtually unemployable in his field of occupation as well

as other related fields.” N. Am. Paper Co. v. Unterberger, 526 N.E.2d 621, 624 (Ill.

App. Ct. 1988). Such broad, sweeping restrictions are contrary to public policy

because they interfere with Benitez’s “fundamental right to use his general

knowledge and skills to pursue the occupation for which he is best suited.” George S.

May Int’l Co. v. Int’l Profit Assocs., 628 N.E.2d 647, 653 (Ill. App. Ct. 1993); see also



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Del Monte Fresh Produce, N.A., Inc. v. Chiquita Brands Int’l Inc., 616 F. Supp. 2d

805, 818 (N.D. Ill. 2009) (non-compete invalid when it would prevent district sales

manager from working as, for example, a cashier).

             B.     Severability

      The Court next considers whether the unenforceable portion of the Agreement

can be severed from the rest of the contract. Courts may sever unenforceable portions

of a contract at their discretion where “the stricken portion is not essential to the

bargain” of the contract. Kinkel v. Cingular Wireless LLC, 857 N.E.2d 250, 277 (Ill.

2006). The Court must consider whether the “provisions operate independently of

each other” or whether the invalid provisions are so “closely connected” to the rest of

the contract that severing them “would be tantamount to rewriting the Agreement.”

Abbott-Interfast Corp. v. Harkabus, 619 N.E.2d 1337, 1344 (Ill. App. Ct. 1993); see

also Hwang v. Pathway LaGrange Prop. Owner, LLC, 2024 IL App (1st) 240534, ¶ 28,

__ N.E. 3d __ (Ill. App. Ct. 2024) (“Courts should be cautioned against [severing

invalid provisions] as it discourages the narrow and precise draftsmanship which

should be reflected in written agreements.”) (cleaned up).

      Also relevant, the Agreement has a severability clause, (R. 90-6 at 6), which

“indicates that the parties intended for the valid portions of the contract to remain in

effect even in the absence of any unenforceable provisions.” Kinkel v. Cingular

Wireless, LLC, 828 N.E.2d 812, 823 (Ill. App. Ct. 2005), aff'd, 857 N.E.2d 250 (Ill.

2006). However, a severability clause is not the end of the matter. In Illinois,

severability clauses can be overridden by provisions deeming certain portions as



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“essential” to the agreement as a whole. Hill v. Names & Addresses, Inc., 571 N.E.2d

1085, 1100 (Ill. App. Ct. 1991).

      Benitez argues that the non-compete provisions are the essential portion of the

Agreement, and that the confidentiality provisions must rise and fall with them. (R.

98 at 29.) The Agreement states that “Employee, [Benetiz] therefore, acknowledges

and agrees that what Employee learns and is trained in at AW[W] would necessarily

cause unfair competition if Employee took employment competitive to AW[W].” (R.

90-6 at 1.) Benitez argues this language is sufficient to render the non-compete and

confidentiality portions of the Agreement inseparable. However, the cases cited by

the defendants are not entirely persuasive. They cite Del Monte, which concerned a

contract with a clause declaring the noncompete clause “essential” to the contract,

similar to the contract in Hill. 616 F. Supp. 2d at 819. The Agreement contains no

such clause. The defendants also cite to Mgmt. Registry, Inc. v. A.W. Companies, Inc.,

an out-of-district case applying Illinois law where the court did not sever a

confidentiality provision from an invalid non-compete provision because of similar

language to the Agreement here. No. CV 17-5009, 2022 WL 4706702, at *9 (D. Minn.

Sept. 30, 2022). But there is no discussion in A.W. Companies about a severability

clause. Id.

      AWW, for its part, did not argue severability in its opposition to summary

judgment, and therefore waives any arguments it might have raised. See Bonte v.

U.S. Bank, N.A., 624 F.3d 461, 466 (7th Cir. 2010) (“Failure to respond to

an argument . . . results in waiver.”)



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      Though the Court acknowledges the distinctions between the defendants’ cited

cases and the facts before it now, on the whole, the Court concludes that the non-

compete and confidentiality provisions run together and must fall together. The

Agreement, read as a whole, is a single contract written by AWW with the intent of

keeping what it sees as its intellectual property away from potential competitors. In

other words, the non-compete is designed to keep Benitez away from AWW’s

competitors not because of his unique skills, but because of his special knowledge of

AWW’s internal processes, which AWW views as confidential trade secrets. (R. 90-6

at 6 (“[Benitez] engaging in any form of employment relationship with a Competing

Business . . . would necessarily result in [him] revealing, basing judgments and

decisions upon, or otherwise using AW[W]’s Confidential Information to unfairly

compete with AW[W]”).) This means that the non-compete and confidentiality

provisions are not severable, and since the non-compete is fatally overbroad, the

confidentiality provision must fall as well. To the extent AWW intended to bring a

claim based on the non-solicitation agreement, that too is invalid for the same

reasons.

      Accordingly, summary judgment is appropriate for Benitez on Count I.

      II.    TRADE SECRETS (COUNTS II AND III)

      Benitez and Protrade move for summary judgment on AWW’s trade secret

claims, arguing that AWW’s “customers are not trade secrets, and there is no

evidence” they misappropriated AWW’s customer identities. (R. 98 at 18.) AWW

responds that its customer list is a misappropriated trade secret, and further alleges



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that the customer list was not the only trade secret misappropriated by Benitez and

Protrade. (R. 113 at 12.)

       AWW brings two claims of misappropriation of trade secrets: Count II under

the federal DTSA, 18 U.S.C. § 1831 et seq., and Count III under the ITSA, 765 ILCS

1065/1 et seq. (R. 1 ¶¶ 42–71.) The elements of both the federal and state claim are,

as relevant here: “(1) a trade secret existed; (2) the secret was misappropriated

through improper acquisition, disclosure, or use; and (3) the owner of the trade secret

was damaged by the misappropriation.” Brian J. Wanca, J.D., P.C. v. Oppenheim,

226 N.E.3d 732, 741 (Ill. App. Ct. 2023) (elements of a claim under the ITSA); see also

Got Docs, LLC v. Kingsbridge Holdings, LLC, 657 F. Supp. 3d 1034, 1043 (N.D. Ill.

2023) (elements of a claim under the DTSA).

       Because Benitez and Protrade challenge whether a trade secret exists, the

Court starts with the first element. The definition of a trade secret is “materially

identical” under state and federal law. Life Spine, Inc. v. Aegis Spine, Inc., 8 F.4th

531, 540–43 (7th Cir. 2021). “[I]nformation qualifies as a ‘trade secret’ if (1) ‘the owner

thereof has taken reasonable measures to keep such information secret’ and (2) ‘the

information derives independent economic value, actual or potential, from not being

generally known to, and not being readily ascertainable through proper means by,

another person who can obtain economic value from the disclosure or use of the

information.’” Id. (citing 18 U.S.C. § 1839(3)). This is a factual question requiring an

“ad hoc evaluation” of the circumstances. Id.




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       Benitez and Protrade argue that the only trade secret at issue here is a list of

AWW’s customers. (R. 98 at 17 (“[T]he only trade secret misappropriation for which

AWW seeks damages is the identity of its customers.”).) According to Benitez and

Protrade, these customers either had a pre-existing relationship with John

McCarthy,3 an AWW employee who left to work (as an independent contractor) with

Protrade, or are well-known “exhibit houses” that do business with many freight

brokers, of which AWW was only one. (R. 98 at 19–20.) McCarthy’s business

relationships cannot be AWW’s trade secrets, the defendants argue, because those

relationships pre-date his employment by AWW, and AWW never had McCarthy

execute a confidentiality agreement. (Id.) Benitez and Protrade likewise argue that

the identities of the “exhibit house” customers cannot be trade secrets because these

companies are well known in the trade show industry and regularly solicit bids from

many freight brokers. (Id.) In so far as these arguments go, they are compelling. But,

they do not provide grounds for summary judgment because AWW’s case rests on

different trade secrets entirely.

       AWW alleges that Benitez and Protrade misappropriated three documents

containing confidential information: its “Operations Manual,” its “Line Up,” and its

“Short List.” (R. 113 at 13–15.) The Operations Manual allegedly contains a “full



   3 AWW moves to strike McCarthy’s affidavit because Protrade did not make him available for

deposition. (R. 116.) In the same motion, AWW moves to strike three other affidavits from affiants it
alleges were never disclosed by Protrade (Id.) Protrade argues that, because McCarthy is an
independent contractor, he is not Protrade’s witness to produce, and “AWW’s failure to depose Mr.
McCarthy cannot be blamed on Protrade.” (R. 139 at 7.). Protrade also argues that the other three
affiants were nevertheless known to AWW. (Id.) Because the Court was able to resolve the cross-
motions for summary judgment without reference to the disputed affidavits, the Court denies AWW’s
motion to strike as moot.

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training guide” for how AWW operates, using all the knowledge the company gained

over years of operations. (Id. at 16.) The Line Up is a “comprehensive” summary of

“virtually every job AWW has ever done” including costs, job details, customer

contacts, and internal notes by AWW employees. (Id. at 13.) Last, the Short List

contains a large number of specialized vendors, convention center contacts, and client

contacts, organized into tabs based on geography and service needed. (Id. at 16.)

AWW states it purchased the original Short List from its first director of operations

when the company was founded in 1989. (Id. at 15.) AWW maintains it limits access

to these documents through restrictive IT access to documents based on employee

need. (Id. at 18.) This, it argues, is reasonable for a company of its size. (Id.)

       Benitez and Protrade argue that AWW cannot save its case at the “[eleventh]

hour” by “rais[ing] additional supposed trade secrets.” (R. 137 at 12–13.) But they put

no evidence before the Court that AWW ever limited its trade secret claims to just

the customer list. Benitez and Protrade support their argument that this case is

limited to just AWW’s customer list by citing their own Statement of Undisputed

Material Fact No. 99. (R. 98 at 17–18.) This statement reads “AWW contends that the

identity of the following entities with which [the defendants] did business with are

trade secrets:” and then lists the fifteen entities. (R. 99 at ¶ 99.) The evidentiary

support for this statement is AWW’s December 6, 2024 “Supplemental Response to

Protrade Logistic Corp.’s Supplemental Interrogatory [No.] 2.” (Id.) This

interrogatory asks “[i]f you contend that Protrade or Jose Benitez did business with

any [AWW] client the identity of which is a trade secret, identify the specific [AWW]



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client, and state the date(s) on which you contend that Protrade did business with

that client.” (R. 99-1.) This interrogatory is not a request that AWW identify the

trade secrets it alleges the defendants misappropriated. So, AWW’s response does not

support the argument that the only trade secrets in this case are those listed in the

response. Furthermore, the complaint identifies trade secrets such as “operating

policies and procedures,” “methods, plans, and processes,” “client and vendor

preferences,”    “AWW’s   Load   Management     System,”   and   other   enumerated

information, which mirrors AWW’s arguments in opposition to summary judgment.

(R. 1 at ¶¶ 43, 58.) Benitez and Protrade have simply failed to make a summary

judgment motion that addresses AWW’s trade secret claims.

       In their reply in support of summary judgment, Benitez and Protrade argue

that the trade secrets AWW identifies are nevertheless not trade secrets, nor

misappropriated. (R. 137 at 18.) These arguments are newly presented in their reply

and accordingly are waived. Carroll v. Lynch, 698 F.3d 561, 568 (7th Cir. 2012).

       Benitez’s and Protrade’s motion for summary judgment is denied as to Counts

II and III.

       III.     TORTIOUS INTERFERENCE WITH BUSINESS RELATIONS (COUNT IV)

       On Count IV, Benitez and Protrade argue summary judgment is appropriate

because the ITSA displaces any claim under Illinois law for tortious interference

claims based on misappropriated trade secrets. (R. 98 at 32.) AWW responds that its

tortious interference claims are not based on misappropriated trade secrets. Instead,

the company alleges that once Benitez left AWW, he continued to accept work from

AWW customers who thought they were hiring AWW. (R. 113 at 24.) AWW, in its
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brief, alleges this was discovered when AWW received invoices for work it never

performed. (Id.) Benitez and Protrade respond that AWW fails to support these claims

with any admissible evidence whatsoever. (R. 137 at 27–28.)

         Their point is well taken—AWW’s opposition to their motion rests on a single

statement: “AWW only learned of this [Benitez accepting work from AWW customers

who were intending to hire AWW] when the customers would send invoices to AWW,

believing AWW had done the work.” (R. 113 at 9 (citing Pl.’s SOAF ¶ 49.) This citation,

in turn, is supported by Kengott’s affidavit. (See Pl.’s SOAF ¶ 49 (citing M. Kengott

Aff. ¶ 67.).) Kengott makes no statement in his affidavit about receiving invoices for

work not performed. Instead, this paragraph makes several assertions about how

Protrade copied AWW’s email format, operated email accounts designed to look like

AWW accounts, and “essentially trick[ed] customers who were reaching out to AWW

for quotes[.]” (R. 115-1 at 87.) As Benitez and Protrade argue, these statements, as

written, are of dubious admissibility. (See R. 137 at 28 (arguing “there is no

evidentiary foundation for [Kengott’s] statement which is, at best, hearsay”).)

Nevertheless, Kengott’s affidavit is sufficient to survive summary judgement on this

issue.

         The burden on a party opposing summary judgment is not onerous. Burton v.

Kohn L. Firm, S.C., 934 F.3d 572, 579 (7th Cir. 2019). To survive, the non-movant

must provide some evidence “beyond the pleadings” such as “affidavits, depositions,

answers to interrogatories, or admissions on file” demonstrating that there is

“evidence upon which a jury could properly proceed to find a verdict in [its] favor.” Id.



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(citing Modrowski v. Pigatto, 712 F.3d 1166, 1168–69 (7th Cir. 2013)). This evidence

need not be presented “in a form that would be admissible at trial.” Id. Accordingly,

Kengott’s affidavit is sufficient evidence to survive summary judgment on the issue

of tortious interference because it supports AWW’s assertion that Benitez and

Protrade accepted work from AWW customers who were intending to hire AWW.

        Benitez’s and Protrade’s motion for summary judgment is denied as to Count

IV.

      IV.    BENITEZ’S COUNTERCLAIMS

      AWW and Kengott, as counterclaim-defendants, move for summary judgment

on Benitez’s counterclaims for breach of contract and violations of the IWCPA.

Benitez claims that AWW and Kengott breached his employment contract and the

IWCPA by “(i) failing to pay Benitez his full salary, beginning in March 2020 through

the end of his employment, (ii) failing to pay Benitez the bonus payment to which he

was entitled for 2019; and (iii) failing to pay Benitez for the unused vacation days

that he had accrued upon the termination of Benitez’s employment.” (R. 20 ¶ 21, 24).

      In Illinois, employment contracts must have “clear and definite” terms and “be

supported by consideration.” McInerney v. Charter Golf, Inc., 680 N.E.2d 1347, 1349

(Ill. 1997). A claim under the IWPCA requires, inter alia, some “employment contract

or agreement.” Catania v. Loc. 4250/5050 of Commc’ns Workers of Am., 834 N.E.2d

966, 972 (Ill. App. Ct. 2005). AWW and Kengott argue that there was never a clear,

definite contract or agreement between themselves and Benitez. (R. 93 at 5–6). As

such that they could freely cut his salary in March 2020, and any 2019 bonus was



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discretionary not obligatory. (Id. at 7.) Further, AWW and Kengott assert that they

paid Benetiz his unused vacation time when he left AWW. (Id. at 10.)

      Benitez puts forth sufficient factual allegations to mostly survive summary

judgment on his contract and IWCPA claims. He alleges that his salary was reduced

in March 2020, without prior notice from Kengott. (Countercl. Pl.’s Resp. CDSOF ¶

10.) But, as Benitez admits in his Statement of Facts, Kengott disagrees, and testified

that he gave Benitez advance warning of the salary cut. (Id.) This is a classic question

of credibility between two witnesses, which cannot be resolved at summary judgment.

See Williams v. City of Chicago, 733 F.3d 749, 752 (7th Cir. 2013) (“[I]ssues of

credibility . . . are for a jury at trial, not a court on summary judgment[.]”). The

credibility issue also arises as to the bonus payment: Benitez alleges that he was

entitled to a $14,000 bonus for 2019, while Kengott asserts that the bonuses were

discretionary. (Contrast R. 93-1 ¶ 21 with Countercl. Pl.’s Resp. CDSOF ¶ 7). As for

the vacation payment claims, again, Benitez and Kengott disagree about what the

terms of Benitez’s employment were, and neither side puts forth dispositive

documents. (Contrast R. 93-1 ¶¶ 34-36 with Countercl. Pl.’s Resp. CDSOF ¶ 20.)

      Nevertheless, the Court can resolve most of Benitez’s wage reduction claims.

Benitez continued to work at AWW after his pay was cut in March 2020, remaining

with the company until May 2021. (R. 20 ¶ 4.) Thus, he ratified the pay cut by

accepting continued employment. See Geary v. Telular Corp., 793 N.E.2d 128, 131

(Ill. App. Ct. 2003) (“When an at-will employee continues to work after a change in

commission plan, he is deemed to have accepted the change.”). Accordingly, AWW



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and Kengott are entitled to summary judgment on Benitez’s wage reduction

allegations after March 2020, but Benitez’s allegation that he was not given advance

notice of his reduction in pay for March 2020 can proceed to a jury.

                                   CONCLUSION

      Benitez’s and Protrade’s motion for summary judgment [90] is granted as to

Count I, for breach of contract, and denied as to Counts II, III, and IV. Kengott’s and

AWW’s motion for summary judgment [93] is granted as to Benitez’s allegations his

wages were reduced without his consent after March 2020, and denied on all other

grounds. On or before July 17, 2025, the parties shall submit a joint status report

that includes the anticipated length of trial and any trial conflicts in December 2025

and January 2026.



Date: July 3, 2025
                                                     JEREMY C. DANIEL
                                                     United States District Judge




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